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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                  8:06CR242
      vs.                                   )
                                            )                    ORDER
SHAWN B. BRIGGS,                            )
                                            )
                    Defendant.              )



      This matter is before the court on defendant's unopposed M OTION TO EXTEND
DEADLINE FOR PRETRIAL MOTIONS [19]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 8-day extension. Pretrial
Motions shall be filed by August 25, 2006.

      IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND DEADLINE FOR PRETRIAL MOTIONS [19 is
granted. Pretrial motions shall be filed on or before August 25, 2006.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between August 17,
2006 and August 25, 2006, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED this 22nd day of August, 2006.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
